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                          No. 21-1093

                              IN THE
      United States Court of Appeals
                 FOR THE SEVENTH CIRCUIT


                UNITED STATES OF AMERICA,

                                         Plaintiff-Appellee,

                                 v.

                        GARY L. BOYLE,

                                         Defendant-Appellant.


         On Appeal from the United States District Court
        for the Central District of Illinois, No. 19-cr-20019
                 The Honorable James E. Shadid


       REDACTED BRIEF FOR THE UNITED STATES


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                         JURISDICTIONAL STATEMENT 1

   The jurisdictional statement in the defendant’s brief is complete and correct.




   1 We use the following abbreviations for record citations: “R.” followed by a number

refers to a document in the district court record; “D.E.” followed by a date refers to a
docket entry in the district court record; “PSR” refers to the Presentence Investigation
Report filed on January 4, 2021 (R. 60); “Sent. Tr.” refers to the transcript of the
sentencing hearing held on January 14, 2021 (R. 73); and “Def. Br.” refers to the
defendant’s opening brief on appeal.

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                        ISSUES PRESENTED FOR REVIEW

   Introduction: Gary Boyle recorded and live-streamed his sexual abuse of

              . For that conduct, he pled guilty to seven counts of producing

child pornography. He also pled guilty to an eighth count for possessing child

pornography, based on images found on his phone. Separately, he pled guilty in

state court to sexually assaulting               on a prior occasion. With an

offense level of 49, his advisory guideline sentence was life (subject to the

statutory maximums), and would have been the same in any criminal history

category. The district court concluded that Boyle deserved to spend the rest of

his life in prison, and it imposed a sentence sufficient to achieve that outcome:

fifty years on the federal offenses, consecutive to his forty-year state sentence.

   Issues:

   I. Whether the defendant has identified any reversible error as to his

criminal history score, when he waived any objection, has not shown that any

error occurred (much less a plain one), and would have had the same guideline

sentence regardless.

   II. Whether, in deciding to run the federal sentence consecutively to the state

sentence, the district court plainly erred by not applying USSG § 5G1.3(b)

(which, if applicable, would recommend a concurrent sentence), when the




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defendant has not shown that his state conviction qualifies as relevant conduct to

his federal offenses, as required to trigger that provision.

   III. Whether the defendant’s de facto life sentence is substantively reasonable

in light of the unthinkable abuse and lifetime of suffering he inflicted on

         , and whether the district court adequately justified that sentence.




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                         STATEMENT OF THE CASE

   A. Boyle’s Offenses

   In February 2019, law enforcement received a report of suspicious activity

from Kik Messenger, a company that operates a smartphone messenger

application through which users can send texts, pictures, and videos. PSR ¶¶ 11–

12. Kik flagged several images and videos that had been uploaded by a particular

account. Id. ¶ 12. An agent reviewed the materials and confirmed that they

portrayed child pornography. Id.

   An investigation revealed that, on February 4, 2019, the account posted four

images and three videos to a group on the Kik application. PSR ¶¶ 16. Each file

depicted a girl                                                            . Id.

The files show the child in various stages of undress, and some of them show her

engaging in sexual activity with an adult male. Id. For example,




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   Officers traced the files to a home in Decatur, Illinois, where they executed a

search warrant on February 21, 2019. PSR ¶¶ 12, 17–18. Defendant Gary Boyle

lived in the home                                      . Id. 17–18. The interior of the

home matched the background of the images and videos in question. Id. ¶ 20.

Officers also found clothing items that matched the ones shown in the files. Id.

   Boyle agreed to speak to agents. PSR ¶ 22. He admitted to engaging in sexual

acts with                                       . Id. He stated that, on February 4,

2019, he                                                                        . Id. ¶ 23.

Instead, he sexually abused her and “live-streamed his sexual abuse . . . to the

other members in his Kik group.” Id. He denied getting anything in return for

doing so, but admitted that he had traded child pornography in return for other

images on other occasions. Id. ¶¶ 23–24. He also stated that this was the only

time he live-streamed his abuse. Id. ¶ 24. Boyle told agents “that he deserves to

be put in jail for life or killed for what he did to              .” Id. ¶ 25. Officers

also seized Boyle’s cell phone. Id. ¶ 19. An analysis revealed 100 images of child

exploitation material in addition to the images and videos of                    . Id.

   Several days later,                     disclosed that Boyle had been sexually

abusing her since she was        years old. PSR ¶ 26. That meant the abuse had


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continued for about three years. Id. ¶¶ 26, 97. She specifically recalled the day he

                        and made videos of her, and she disclosed that Boyle used

sex toys on her. Id. ¶ 26.

   B. State and Federal Charges and Guilty Pleas

   Charges soon followed in both state and federal court. In February 2019,

Boyle was charged in state court with over a dozen counts related to his sexual

abuse of                . PSR ¶ 120. He eventually pled guilty as part of a plea

agreement to a single count of predatory criminal sexual assault of a child. Id.

That count charged that, between October 10, 2010, and February 3, 2019, the

defendant knowingly committed an act of sexual penetration with           , who was

under the age of thirteen, by placing his penis in her vagina for the purpose of

sexual gratification or arousal. Id. In September 2020, the state court sentenced

Boyle to forty years of imprisonment on that conviction. Id.

   Meanwhile, a federal grand jury returned an indictment against Boyle in

March 2019. R. 1. Counts 1 through 7 each charged Boyle with sexual

exploitation of a child, for using a minor to engage in sexually explicit conduct

for the purpose of producing a visual depiction of that conduct, in violation of 18

U.S.C. § 2251(a) and (e). Id. at 1–6. These counts were each based on a different

image or video created on February 4, 2019. Id.; see PSR ¶ 16. Count 8 charged

Boyle with possessing the child pornography found on his phone on February


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21, 2019, in violation of 18 U.S.C. § 2252A(a)(5)(b) and (b)(2). R. 1 at 6–7. Boyle

eventually pled guilty to all eight counts, without entering a plea agreement.

D.E. 09/16/2020. The district court accepted his pleas on October 1, 2020. R. 53.

   C. Presentence Report

   The Probation Office then prepared a Presentence Report. To calculate the

Sentencing Guidelines, Probation placed each count into its own group and

calculated the offense level for each count. PSR ¶ 33. The seven production-of-

child-pornography counts each had base offense levels of 32, USSG § 2G2.1(a),

plus four levels for the age of the victim, § 2G2.1(b)(1)(A); two levels for

engaging in distribution, § 2G2.1(b)(3); and two levels because the defendant was

                    , § 2G2.1(b)(5). Id. ¶¶ 34–93. Probation also assigned an

additional two-level enhancement to four of the counts because they involved a

sexual act or sexual contact, § 2G2.1(b)(2)(A). Id. ¶¶ 52, 61, 70, 87. The production

counts thus each had adjusted offense levels of 40 or 42. Id. ¶¶ 34–93.

   Probation arrived at a base-offense level of 18 for the possession-of-child-

pornography count, USSG § 2G2.2(a)(1), plus the following enhancements: two

levels for the age of the victim, § 2G2.2(b)(2); five levels for distributing materials

for valuable consideration, § 2G2.2(b)(3)(B); five levels for engaging in a pattern

of activity involving the sexual abuse or exploitation of a minor, § 2G2.2(b)(5);

two levels for the use of a computer, § 2G2.2(b)(6); and four levels because the


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offense involved at least 300 images, § 2G2.2(b)(7)(C). PSR ¶¶ 94–99. That

produced an adjusted offense level of 36. Id. ¶ 103.

   Probation then calculated a single, combined offense level. To do so, it

determined that altogether the counts represented a total of 7.5 units (one unit

for each of the production counts, and .5 units for the possession count). PSR

¶ 104. That calculation required an additional five-level increase to the highest

adjusted offense level (which was 42). Id. ¶ 106 (citing USSG § 3D1.4). The report

also added a five-level enhancement under USSG § 4B1.5(b), because Boyle’s

offense was a sex crime and he had engaged in a pattern of activity involving

prohibited sexual conduct. Id. ¶ 108. After a three-level reduction for acceptance

of responsibility, USSG § 3E1.1, the total offense level was 49. Id. ¶ 109–11.

Because the sentencing table only goes up to an offense level of 43, though,

Boyle’s offense level became 43. Id. ¶ 111 (citing USSG ch. 5, pt. A, cmt. n.2).

   The report also calculated that Boyle had seven criminal history points,

placing him in criminal history category IV. PSR ¶ 123. Three of those points

came from Boyle’s conviction in state court for predatory criminal sexual assault

of a child. Id. ¶ 120. With his offense level of 43, Boyle’s guideline sentence was

“life,” as it would have been in any criminal history category. Id. ¶ 162–63, 165.

But because the statutory maximum term of imprisonment on Boyle’s

convictions was 230 years (thirty years on each of the production counts and


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twenty years on the possession count), his guideline sentence became 230 years,

or 2,760 months. Id. ¶ 165 (citing § 5G1.2(d)).

   Boyle submitted two objections to the Presentence Report. PSR at 36–37. He

objected to the two-level enhancement for using a computer, which applied to

his conviction on Count 8. Id. at 36. He also objected to his criminal history

category of IV, stating that “it overrepresents his criminal history.” Id. at 37.

   D. Sentencing Memoranda

   Before the sentencing hearing, both parties submitted sentencing memoranda,

commenting on the objections and arguing as to the appropriate sentence. For its

part, the government argued that neither of Boyle’s objections identified any

inaccuracy in the Presentence Report, and that his ultimate guideline sentence

would have been the same regardless. R. 62 at 3–4. The government asked the

court to impose the guideline sentence, or 230 years. Id. at 15. It highlighted the

egregiousness of Boyle’s conduct and the lasting harm he inflicted, which

warranted the most serious sentence the law allowed. Id. at 5–16.

   In Boyle’s memorandum, he first acknowledged that the use-of-a-computer

enhancement had no impact on the guideline calculation. R. 63 at 2. As to his

criminal history category, he agreed that the “government is . . . correct that

when applying the guidelines, [he] was accurately assessed to be a Criminal

History Category IV.” Id. He clarified that his argument was “not that the


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guidelines are misapplied,” but only that adding three points for his state

conviction overstated the seriousness of his criminal history. Id. at 2–3 (noting

that “the guidelines range of life is correct”). As to the appropriate sentence, he

argued that the court should impose the same sentence he received in state

court—forty years of imprisonment—and should run the federal sentence

concurrently to that undischarged sentence. Id. at 3–8.

   E. Sentencing Hearing

      1. Objections and guideline calculation

   The court began the sentencing hearing by addressing Boyle’s objections to

the Presentence Report, starting with his criminal history. Sent Tr. 2–4. Defense

counsel agreed that the objection was really “a 3553 argument,” and that “there

is no argument to be made that would affect the guidelines as to criminal

history.” Id. at 2–3. The court thus declined to rule on the objection, noting that

Boyle could make that argument at the § 3553(a) stage of the hearing. Id. at 3. As

to the use-of-a-computer enhancement, the court held that the enhancement was

proper under the Guidelines, though its practice was not to rely on that

enhancement in its sentencing decision. Id. The parties agreed, though, that those

two levels had no impact on the guideline calculation—given the Guidelines’

grouping rules, the calculation was driven entirely by the offense levels for the

production offenses in Counts 1 through 7. Id. at 3–4.


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   The district court thus adopted the Presentence Report’s calculation under the

Sentencing Guidelines. Sent. Tr. 4. Again, that calculation produced a total

offense level of 43 and a criminal history category of IV. Id. Though that would

have produced a guideline sentence of “life,” the statutory maximums limited

the guideline sentence to a term of 230 years, or 2,760 months. Id.; PSR ¶ 165.

      2. Victim impact statements

   The court then heard victim impact statements from the girl and her mother.

First, the prosecutor read a statement written by                  , his victim:

      I was sexually abused. Gary Boyle took photos and videos. Sometime
      I felt I shouldn’t be alive. He hurt me and no             should do
      that. Things trigger me: seeing a gray Dodge truck, hearing the name
      “Gary” or seeing it in things I read, certain roads my mom drives on;
      memories of my abuse plays over and over in my head. It gives me
      ugly thoughts and feelings.

      Gary made m[e] keep this terrible secret for as long as I can remember.
      It makes me angry. I was sad and scared. But now I feel so much
      anger. . . . I still struggle daily because this monster         .

      . . . . How could        do this [to] me? I am   years old and my
      abuse started so long ago I can’t even remember. Gary would abuse
      me and he would say I have to – he would say I have to stop this, but
      then he would never stop.

      Gary took things from me that I can’t find in counseling or inside
      myself. I have to grow up with this. I still have to deal with this
      forever. This never goes away for me.

      Words cannot express the pain and the things that I had —I have had
      to go through. I had to                   because he abused me. I
      wasn’t allowed to be with my mom or my family when I needed them
      the most.


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      I feel like it was my fault. Maybe if I —if I would’ve told, I could be
      with my mom. I worry that people will think I enjoyed being abused.
      I am learning to love again —to love me again, and I am       years old.

      I didn’t want this life, but I am a survivor, and I will not let this define
      me or destroy me.

Sent. Tr. 6–7.

   Next, the girl’s mother (                      ) spoke of the enduring pain and

suffering that Boyle had inflicted on her and her children:

      I am the mother of four children, three of which Gary abused. . . .

                                     . . . . [W]hat I didn’t know was that
      Gary was also grooming and sexually abusing my children.

      As their mom, I always carry the guilt of not keeping them safe. My
      heart aches for them. . . .

                                        . It is my responsibility to make sure
      they are on the path to healing. I comfort them when they have bad
      dreams and are triggered. I am the one that has sleepless nights
      praying that they will come out of this situation okay. I am the one
      that [my daughter] talks to when she can’t hold her secrets anymore.
      I am the one that listens to the memories of when Gary abused her. I
      am the one that apologizes for the things he has done over and over
      again. . . .

      We never wanted this life. We deserved better. Yet here we are in this
      courtroom seeking justice. And I can tell you, no amount of prison
      time will ever be enough for what he has taken from [my daughters]
      and my family. No amount of restitution can pay for the losses my
      children have suffered. No amount of money can replace their self-
      love, their innocence, their worth, and their normal future. . . . It will
      never cover the amount of therapy that they will need for the rest of
      their lives. What Gary took is priceless. We can never get back or
      replace —or place a value on the things that he’s stolen.



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      . . . . [I]mages and videos [of my daughter’s abuse] are never going to
      go away. They will be shared and used over and over again by
      countless people around the world. There will be no end for her. [She]
      will have to go through a lifetime of counseling and treatment. Gary
      stole her childness, her innocence, her dreams, self-esteem, and self-
      worth.

      [My daughter] no longer trusts. She is fearful of being alone. She has
      night terrors. She’s scared to take showers. She is uncomfortable with
      herself. She isolates. She no longer likes hugs or to be touched.

      ....

      Nothing in life prepares you for things like this. These are the things
      people don’t talk about or don’t want to hear about. We are left to face
      it daily. Even through all of the trauma and the abuse [my daughter]
      faced, she is still a kind, loving, sweet child. She inspires me daily.

      I remember sitting in the courtroom for the first time . . . hearing in
      detail about the images and videos that Gary took and shared of my
      baby, my little girl. All I could do was cry. In fact, I continued to cry
      the entire —the entire hour[-]long drive home. That day all I could
      think of is how amazing [my daughter] was to be able to smile and
      laugh. I thought if that had happened to me, I would just to want die;
      that sometimes death is better than living with all of this pain. I cannot
      even begin to imagine how she feels or what she goes through daily.

      Her life will always be a challenge and I am going to continue to
      advocate for my girls. I will support them. We are survivors. We are
      no longer victims, and we will work towards a bright and better
      future every day. We are moving on with our lives. This will not
      define us.

Sent. Tr. 8–12.

      3. Arguments and allocution

   The parties then presented their arguments regarding the appropriate

sentence. The government emphasized the egregious nature of Boyle’s conduct.


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Sent. Tr. 14–19. It noted Boyle not only possessed and traded child pornography,

which itself causes great harm. Id. at 14–15. He also “exploited a child in his care

for his own prurient pleasure and the sadistic pleasure of his group members,”

and he “used the minor victim to memorialize the darkest days of her life and

commit her to a life sentence.” Id. at 15. The government asked the court to

impose the maximum sentence to reflect the seriousness of Boyle’s offenses and

the harm he inflicted on the victim. Id. at 15–19. It also asked for the sentence to

run consecutively to Boyle’s state sentence, as his federal offenses involved

conduct and harm not accounted for by his state conviction. Id.

   In response, defense counsel acknowledged the “terror and pain that [Boyle]

had inflicted upon”               . Sent. Tr. 19. She argued, though, that due to

Boyle’s age (thirty-six) and his forty-year state sentence, “the question that the

Court really has to answer is Do you ever want Gary Boyle to ever walk free or not?”

Id. at 24. She likewise argued that “the real question is: Does Gary Boyle deserve

the last couple years breathing free air after having spent 40 in prison?” Id. She

argued that, based on Boyle’s acceptance of responsibility in this case and his

own history of abuse as a child, he “should get at least a chance to walk free

again in the world as an old man[.]” Id. at 25. Boyle next addressed the court and

apologized for his conduct and expressed remorse for the harm he caused. Id. at

25–27.


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      4. Sentence pronouncement

   The district court then explained its consideration of the § 3553(a) factors. It

began by addressing defense counsel’s question:

      [I]t’s not my nature normally to respond to questions posed to me,
      but since you did pose it, ‘The real question: Does Gary Boyle deserve
      a few years of breathing fresh air?’ and the answer in my mind is no.
      That would allow him to share the same air as                 , the one
      he sentenced to a lifetime of nightmares and self-doubt.

Sent. Tr. 28. The court explained to Boyle, “you sentenced                        to life,

a life questioning herself, asking herself what she did wrong. You deserve the

same sentence so then you can consider what you did wrong.” Id. at 30.

   In discussing the nature of Boyle’s offense, the court noted that Boyle not only

possessed images of child pornography, he sexually abused                        “and

streamed [that abuse] for all of his sick and perverted friends on Kik Messenger

to see, for her to live with forever.” Id. at 30–31. As to Boyle’s history and

characteristics, the court acknowledged Boyle’s age, his mental health conditions,

and his history of abuse as a child. Id. at 29.

   The court also acknowledged that, while it intended to keep Boyle in prison

for the rest of his life, it did not need to impose the statutory maximum sentence

to do so. Sent. Tr. 28. Accordingly, it imposed concurrent thirty-year sentences on

each of the production counts, which occurred over the same day. Id. at 31. But it

ran those terms consecutively to a twenty-year sentence on Boyle’s possession


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count, through which Boyle subjected other children “to the perverted and

distorted and sick nature of those seeking the internet for their satisfaction.” Id. at

31–32. That produced a total sentence of fifty years, or 600 months. Id. at 32. The

court ordered that the federal sentence run consecutively to the undischarged

state sentence for committing an act of sexual penetration against a child, which

reflected a separate course of conduct. Id. It closed by explaining that, if Boyle

served the entire combined sentence, “that would be a sentence of 90 years or

nearly 90 years. If he manages to live to be . . . 126 years old, then he can have

that fresh air that he requests today.” Id.

   F. Judgment and Appeal

   The district court entered judgment on January 19, 2021. R. 67. Boyle filed a

timely notice of appeal that same day. R. 70.




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                        SUMMARY OF THE ARGUMENT

   The district court did not commit any procedural error at sentencing, and it

imposed a substantively reasonable sentence, so this Court should affirm.

   First, Boyle objects to receiving criminal history points for the state conviction

that, he contends, constitutes relevant conduct to his federal offenses. He waived

that argument, though, by telling the district court that the Presentence Report

correctly added three criminal history points for that offense. Even on plain error

review, he could not prevail. The Guidelines’ application notes expressly allow

convictions that support an enhancement for engaging in a pattern of sexual

abuse to receive criminal history points, too, so Boyle cannot establish any error.

Regardless, Boyle’s criminal history score had no effect on his guideline

sentence—his offense level (49) was literally off the chart and would have

produced the same term in any criminal history category.

   Second, Boyle argues that the district court erred by failing to consider a

guideline provision, USSG § 5G1.3(b), that, if applicable, would recommend that

his federal sentence run concurrently to his state sentence. For that provision to

apply, though, the state conviction would have to qualify as “relevant conduct”

to his federal offenses of conviction under one of three particular subsections of

the guideline that defines that term. Boyle cannot show on plain error review

that it is “clear or obvious” that his state conviction did so. His sexual assault of a


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child on one occasion (the state conviction) was not an act committed during or

in preparation for his later exploitation of that child or possession of child

pornography (as required for subsection (a)(1)). The subsection covering acts

committed as part of the same course of conduct does not apply to production

offenses, and Boyle’s sexual assault on one occasion was not part of the same

course of conduct as his possession of images of sexual exploitation of a number

of children on a later date (as required for subsection (a)(2)). Those offenses

involved different conduct that occurred in different time periods and inflicted

different harms. Nor was Boyle’s sexual assault of a child a harm that resulted

from his later federal offenses (as required for subsection (a)(3)). Thus, Boyle has

not shown that the district court erred, much less plainly so, by not applying this

guideline provision before deciding to run the sentences consecutively.

   Finally, Boyle’s sentence is substantively reasonable. The district court

imposed a below-guideline sentence, and Boyle cannot overcome the presump-

tion of reasonableness on appeal or show that the lower court abused its

discretion. He committed unthinkable acts of abuse against

(and also victimized other children whose images he possessed), and his conduct

inflicted lifetimes of pain and suffering on               and her mother. The

district court reasonably found that Boyle deserved to spend the rest of his life in

prison for that conduct, and it structured the sentence to achieve that result.


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                                   ARGUMENT

   Boyle first offers two arguments that depend in part on the scope of relevant

conduct under the Guidelines. He argues that he should not have received

criminal history points for a prior state conviction because that conviction was

relevant conduct to his federal offenses. He similarly argues that the Guidelines

recommend that his federal sentence run concurrently to his undischarged state

sentence, again on the belief that the state conviction constitutes relevant

conduct. Boyle waived the first argument and forfeited the second. On the

merits, unpacking those arguments requires a careful analysis of the scope of

relevant conduct under the respective guideline provisions, but Boyle has not

identified any error, much less a reversible one. Finally, Boyle argues that his de

facto life sentence is substantively unreasonable. But that sentence, which

represented a marked downward variance from the Guidelines, was amply

warranted by Boyle’s sexual abuse of                      and his documentation

and broadcasting of that abuse over the internet.

I. Boyle Has Not Identified Any Reversible Error As To His Criminal History
   Score

   Boyle first argues that the district court erred in calculating the guideline

sentence by adding criminal history points for a prior conviction that, he argues,

also qualified as relevant conduct to his federal offenses. Def. Br. 12. Boyle

waived this argument, though, by expressly telling the district court that the

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Presentence Report correctly added three criminal history points for that

conviction. Even on plain error review, Boyle has not identified any error, as he

correctly received three criminal history points for that conviction. Those points

had no effect on the Guidelines calculation, either, as Boyle’s off-the-chart offense

level would have produced the same sentence—life—in any criminal history

category, so Boyle cannot show an effect on his substantial rights.

   A. Boyle Waived His Objection

   At the outset, Boyle waived any objection to his criminal history score. He

agreed that the Presentence Report correctly added three points for his state

conviction, and he explained that he objected only to whether those points

overstated his history for purposes of § 3553(a). Those statements waived any

objection, which precludes appellate review of this argument.

   “Waiver occurs when a criminal defendant intentionally relinquishes a

known right.” United States v. Scott, 900 F.3d 972, 974 (7th Cir. 2018) (quoting

United States v. Brodie, 507 F.3d 527, 530 (7th Cir. 2007)). While a mere failure to

object may permit review for plain error, “[w]aiver of a right extinguishes any

error and precludes appellate review[.]” Brodie, 507 F.3d at 530; see also Rosales-

Mireles v. United States, 138 S. Ct. 1897, 1904 (2018) (stating that, for plain error

review to apply, “there must be an error that has not been intentionally

relinquished or abandoned”).


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   Courts will find waiver in the sentencing context when a defendant has

advance notice of the relevant issues and chooses to assert some objections and

not others. United States v. Flores, 929 F.3d 443, 448–49 (7th Cir. 2019). Even more

clearly, waiver applies when a defendant tells the district court he does not object

to a particular issue. Id. As this Court has summarized, “where a defendant has

access to the [presentence report], and knows of his right to object to it, objects to

certain parts of the [report], and then states on the record that he does not have

any others, ‘this seems to us the paragon of intentional relinquishment’ that

warrants a finding of waiver.” United States v. Robinson, 964 F.3d 632, 641 (7th

Cir. 2020) (quoting Brodie, 507 F.3d at 531) (internal alteration omitted); see also

United States v. Reyes, 365 F.3d 565, 567 (7th Cir. 2004) (finding waiver where the

defendant objected to assessing criminal history points for one conviction but not

another).

   That exact sequence played out here. Boyle had advance notice of the

Presentence Report’s calculation of the Guidelines and its assessment of three

criminal history points for his state conviction. See PSR at 36–37. In fact, he

objected to his criminal history category, but only on the ground that it

overstated the seriousness of his history; he did not argue that his criminal

history score was incorrect. Id. at 37. He made that abundantly clear in his

sentencing memorandum, where he agreed that the government was “correct


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that when applying the guidelines, Mr. Boyle was accurately assessed to be a

Criminal History Category IV.” R. 63 at 2. He acknowledged that the Presentence

Report assessed three criminal history points for his state conviction, and he

disavowed any argument “that the guidelines are misapplied.” Id. at 2. Instead,

he raised his objection only as a mitigating argument under § 3553(a). Id. at 2–3;

see also Sent. Tr. 2–3. He also confirmed at sentencing that he had no objections

other than those reflected in the Presentence Report. Sent. Tr. 4.

   This sequence shows that Boyle had advance notice and an opportunity to

object; that he was aware of the addition of three criminal history points for this

conviction and considered whether they properly applied; and that he chose to

raise other objections but not this one. More, he expressly told the district court

that the three points were proper and that his criminal history category was

correct. R. 63 at 2; Sent. Tr. 2–3. That’s waiver. Flores, 929 F.3d at 448–49; Robinson,

964 F.3d at 641.

   Although a strategic reason is not necessary to find waiver, Flores, 929 F.3d at

448, this was a rational decision, too. As counsel acknowledged, and as discussed

below, the criminal history category had no effect on Boyle’s guideline sentence,

which would have been “life” regardless. R. 63 at 3 (“Regardless, the guidelines

range of life is correct[.]”). Forgoing an objection that would not have had any

effect on the Guidelines, and focusing instead on arguments in mitigation, was a


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reasonable sentencing strategy. This Court should therefore find that Boyle

waived this argument, which precludes appellate review.

   B. The District Court Did Not Plainly Err in Calculating Boyle’s Guidelines
      Sentence

   Even absent waiver, Boyle would have to overcome plain-error review. Boyle

did not argue below that his state conviction qualified as relevant conduct to his

federal offenses, or that he should not receive criminal history points for that

conviction. See Sent. Tr. 2–3; PSR at p. 37; R. 63 at 2–3. He therefore forfeited that

argument if he did not waive it. United States v. Olano, 507 U.S. 725, 733 (1993). To

prevail on appeal, he would bear the burden of establishing that: (1) an error

occurred; (2) the error is plain, meaning it is clear or obvious; (3) the error

affected his substantial rights; and (4) the error seriously affects the fairness,

integrity, or public reputation of the proceedings. Id. at 734–36; United States v.

Butler, 777 F.3d 382, 388 (7th Cir. 2015); see Fed. R. Crim. P. 52(b).

   Boyle cannot meet that standard. He has not shown an error, much less a

plain one, as the Guidelines expressly permit criminal history points for a prior

conviction that also supports the offense-level enhancement in question. He

cannot show any prejudice, either. Given his astronomical offense level, Boyle’s

guideline sentence would be the same regardless of his criminal history category.

This Court should therefore affirm even if Boyle only forfeited this argument.



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      1. No error occurred, much less a plain one

   Boyle has not shown that the district court committed any error in calculating

his criminal history score. He argues that his state conviction qualifies as relevant

conduct to his federal offenses, and that he should not have received both an

offense-level enhancement and criminal history points for that conviction. 2 Def.

Br. 12. To the contrary, Boyle’s state conviction would qualify as relevant

conduct, if at all, by supporting an offense-level enhancement for engaging in a

pattern of sexual abuse or exploitation of a minor. USSG § 2G2.2(b)(5). The

Guidelines expressly permit criminal history points for convictions that trigger

that enhancement, though. Id. cmt. n.5. Accordingly, the district court did not err,

plainly or otherwise, in assessing those criminal history points.

   Boyle refers to the concept of “relevant conduct” at a high level of generality,

but evaluating his arguments requires a closer study of the pertinent definitions.

As relevant here, the Guidelines define relevant conduct as follows:

      (1) all acts and omissions committed . . . by the defendant . . . that
      occurred during the commission of the offense of conviction, in
      preparation for that offense, or in the course of attempting to avoid
      detection or responsibility for that offense;

      (2) solely with respect to offenses of a character for which §3D1.2(d)
      would require grouping of multiple counts, all acts and omissions . . .

   2 Boyle also suggests (Def. Br. 12) that the district court conflated offense conduct

and relevant conduct, but he does not identify any applicable guideline provision that
requires distinguishing between the two, nor does he identify how this alleged error
had any impact on his offense level or guideline range.

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      that were part of the same course of conduct or common scheme or
      plan as the offense of conviction;

      (3) all harm that resulted from the acts and omissions specified in
      subsections (a)(1) and (a)(2) above, and all harm that was the object of
      such acts and omissions; and

      (4) any other information specified in the applicable guideline.

USSG § 1B1.3(a).

   As discussed in greater detail below, Boyle’s state conviction could not

qualify as relevant conduct under subsections (a)(1), (a)(2), or (a)(3). Sexually

assaulting a child on a prior date (the state offense) is not an act that occurred

during the production of child pornography on a later date, or as part of the

collection of other images of child pornography, as required to meet subsection

(a)(1). § 1B1.3(a)(1). Subsection (a)(2) does not apply to the production counts, as

it applies solely to offenses that can be grouped under § 3D1.2(d). § 1B1.3(a)(2).

As to the possession count, sexually abusing a child is not part of the same

course of conduct as collecting child pornography—those offenses involved

different conduct, harms, and time periods—so subsection (a)(2) does not

encompass any of the counts. Subsection (a)(3), which covers harm that resulted

from the acts in the first two subsections, does not apply either, as the state

offense occurred before the federal offenses, and thus did not constitute harm

resulting from those later offenses. § 1B1.3(a)(3).




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   If the state conviction qualifies as relevant conduct, then, it could only be

under subsection (a)(4), which covers “any other information specified in the

applicable guideline.” § 1B1.3(a)(4). The guideline for possessing child

pornography includes a five-level enhancement if “the defendant engaged in a

pattern of activity involving the sexual abuse or exploitation of a minor,” USSG

§ 2G2.2(b)(5), and Boyle received that enhancement. That enhancement could

arguably 3 be based in part on Boyle’s state conviction for sexually assaulting a

child. And ordinarily, a defendant would not receive criminal history points for a

conviction that also triggers an offense-level enhancement. USSG § 4A1.2(a)(1);

id. cmt. n.1.

   Application note 5 to § 2G2.2 expressly addresses this situation, though, and

creates an exception to that general rule. It clarifies that a § 2G2.2(b)(5)

enhancement does not preclude the assessment of criminal history points: “A

conviction taken into account under subsection (b)(5) is not excluded from

consideration of whether that conviction receives criminal history points

pursuant to Chapter Four, Part A (Criminal History).” § 2G2.2 cmt. n.5; United


   3 Between his seven child-exploitation counts and the three-year pattern of abuse,

Boyle had far more than the two instances of abuse necessary for this enhancement.
§ 2G2.2 cmt. n.1. As this Court held in a similar case, it is thus “far from clear” that
Boyle’s state conviction, which represented but one instance of abuse, actually
supported the pattern enhancement and became relevant conduct in that respect. United
States v. Schrode, 839 F.3d 545, 552 (7th Cir. 2016). Boyle thus could not establish plain
error even without application note 5 to § 2G2.2, though that note removes all doubt.

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States v. Nance, 611 F.3d 409, 414 (7th Cir. 2010) (confirming that the application

note (which was then application note 3) “carves out an exception to the general

rule that relevant conduct is not factored in a defendant’s criminal history

score”). Therefore, even if this enhancement were based in part on Boyle’s state

conviction, that would not prevent assessing criminal history points for that

conviction. This application note forecloses Boyle’s argument, so he cannot show

a plain error. 4

       2. Boyle cannot show any prejudice

   Boyle’s claim also fails for an even simpler reason: his criminal history score

had no effect on his guideline sentence. Given his offense level of 49 (reduced to

43 to fit into the sentencing table, USSG ch. 5, pt. A, cmt. n.2), Boyle would have

faced the same guideline sentence in any criminal history category. He thus

cannot show that any error affected his substantial rights, as required to prevail

on plain-error review.




   4 Chapter Four also includes a similar “pattern” enhancement, § 4B1.5(b), which

Boyle received too. But an enhancement under Chapter Four does not exclude a
conviction from receiving criminal history points under § 4A1.2. Nance, 611 F.3d at 413
n.4 (“We understand the cross-reference to § 1B1.3 in § 4A1.2, cmt. n.1 as advising
courts to use § 1B1.3(a) to determine relevant conduct, even though that provision
defines relevant conduct for purposes of chapters two and three of the Guidelines and
§ 1B1.3(b) defines relevant conduct for chapter four (where the criminal history
provisions are listed).”).

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   Boyle’s offense level made his criminal history immaterial to the Guidelines.

His eight offenses 5 each had adjusted offense levels ranging from 36 to 42. PSR

¶ 104. He then received a five-level enhancement for the number of units, id.

¶ 106 (citing § 3D1.4), and a five-level enhancement for engaging in a pattern of

prohibited sexual conduct, id. ¶ 108 (citing § 4B1.5(b)), resulting in an offense

level of 52, id. After a three-level reduction for acceptance of responsibility, id.

¶ 109–10 (citing § 3E1.1), Boyle’s offense level became 49, id. ¶ 111. The

Guidelines’ sentencing table only goes up to an offense level of 43, though. USSG

ch. 5, pt. A. Accordingly, Boyle’s offense level became 43. Id. cmt. n.2. And the

guideline sentence for an offense level of 43 is the same in all six criminal history

categories: “life.” USSG ch. 5, pt. A.

   Any error in determining Boyle’s criminal history category could not,

therefore, have affected his substantial rights. This Court addressed the same

situation in United States v. Viren, 828 F.3d 535 (7th Cir. 2016). There, the

defendant had a total offense level of 43, but argued that he should have fallen in



   5 Boyle suggests in a parenthetical, without supporting argument, that the seven

production counts may be multiplicitous. Def. Br. 14. That argument is waived as
undeveloped, Crespo v. Colvin, 824 F.3d 667, 674 (7th Cir. 2016), but the counts are not
multiplicitous. United States v. Esch, 832 F.2d 531, 542 (10th Cir. 1987) (“The fact that
multiple photographs may have been sequentially produced during a single
photographing session is irrelevant. Each photograph depended upon a separate and
distinct use of the children.”); United States v. Smith, 919 F.3d 1, 16 (1st Cir. 2019) (same);
United States v. Fee, 491 F. App’x 151, 157 (11th Cir. 2012) (same).

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criminal history category II, not V. Id. at 539–40. This Court agreed, but noted

that the error had no effect on the sentencing range: “Had the district court set

[the defendant’s] criminal history category at level II, his offense level would still

have been 43. An offense level of 43 with a criminal history category of II carries

a Guidelines sentence of life.” Id. at 540. The defendant thus could not satisfy

plain-error review: “Because the Guidelines sentence remains the same whether

[the defendant] has a criminal history category of II or V, [the defendant’s]

substantial rights were not affected by the district court setting his criminal

history category at V.” Id.

   The same is true here. Even accepting Boyle’s argument on the merits, the

district court still correctly calculated his advisory guideline sentence: life

(reduced to 2,760 months by the statutory maximums). Sent. Tr. 4; PSR ¶ 165.

Since that same guideline sentence would apply regardless of his criminal

history category, Boyle cannot show that any error in calculating his criminal

history score affected his substantial rights. In fact, Boyle never attempts to

identify how this alleged error would have impacted his guideline range or his

sentence. Because a defendant bears the burden on plain-error review, United

States v. Williams, 946 F.3d 968, 971 (7th Cir. 2020), his failure to do so forecloses

relief on this ground.




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II. Section 5G1.3(b) Does Not Apply, So The District Court Did Not Plainly Err
    By Not Addressing It

   Boyle next argues that the district court failed to consider the Guidelines in

deciding whether to impose his federal sentence consecutively or concurrently to

his undischarged state sentence. Def. Br. 15–18. He argues that the Guidelines

recommend concurrent sentences, as he asserts that his state conviction qualifies

as relevant conduct to his federal offenses. Id. at 16–18. He thus argues that the

court committed a procedural error by failing to consider a relevant guideline

provision: USSG § 5G1.3(b). Id. at 15–16.

   Boyle’s argument is incorrect. While the district court did not address § 5G1.3,

Boyle did not ask it to—which triggers plain error review—nor did the court

need to do so. In short, as applied here, § 5G1.3 does not contain an applicable

guideline provision—only a policy statement (subsection (d)) that leaves to a

court’s discretion whether to impose concurrent or consecutive sentences. While

§ 5G1.3 does contain a guideline provision (subsection (b)) that recommends

concurrent sentences in certain circumstances, those circumstances are not

present here. Subsection (b) applies only when a prior conviction qualifies as

relevant conduct under three particular subsections of § 1B1.3(a). Boyle’s prior

conviction does not. The district court thus did not fail to consult any applicable

guideline provision, so it did not commit any procedural error.



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   A. Plain Error Review Applies

   Though Boyle asked the district court to impose concurrent sentences, he did

not ask the court to apply § 5G1.3(b) or argue that the Guidelines recommend a

concurrent sentence. R. 63 at 7. He thus forfeited that argument, so this Court

reviews only for plain error. United States v. Hoffman, 847 F.3d 878, 882 (7th Cir.

2017); United States v. Rachuy, 743 F.3d 205, 211 (7th Cir. 2014). The first two

elements of that standard—that the court committed an “error” that is “plain,”

Olano, 507 U.S. at 734–36—are dispositive here.

   B. Boyle Has Not Shown that His State Conviction Plainly Qualifies as
      Relevant Conduct, as Required to Trigger § 5G1.3(b)

   Boyle is mistaken in arguing that his state conviction qualified as relevant

conduct to his federal offenses, so as to trigger § 5G1.3(b). As before, he refers to

the concept of relevant conduct in broad strokes. Evaluating his argument,

though, requires considering the specific guideline provisions at issue and

applying the facts of this case to the language of those provisions.

   To begin with, when a defendant faces sentencing while still subject to an

undischarged term of imprisonment from another case, § 5G1.3 recommends that

the instant sentence run concurrently to the undischarged sentence only in

narrow circumstances. In particular, § 5G1.3(b) recommends a concurrent

sentence only when the undischarged sentence “resulted from another offense

that is relevant conduct to the instant offense of conviction under the provisions

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of subsections (a)(1), (a)(2), or (a)(3) of § 1B1.3 (Relevant Conduct).” § 5G1.3(b). 6

A defendant bears the burden of establishing that an undischarged state sentence

qualifies as relevant conduct to his federal offenses under those provisions.

United States v. Nania, 724 F.3d 824, 833 (7th Cir. 2013). For undischarged

sentences that do not fit those narrow circumstances, the Guidelines do not

contain an applicable guideline provision—only a policy statement. 7 § 5G1.3(d).

That policy statement leaves to a court’s discretion whether to impose the

sentences concurrently, partially concurrently, or consecutively, to achieve a

reasonable punishment for the instant offense. Id.

   Accordingly, Boyle must show that his state offense constituted relevant

conduct to his federal offenses under any of three particular subsections of the

definition of “relevant conduct”—subsections (a)(1), (a)(2), and (a)(3) of § 1B1.3.

§ 5G1.3(b). As noted above, those subsections encompass the following conduct:

       (1) all acts and omissions committed . . . by the defendant . . . that
       occurred during the commission of the offense of conviction, in
       preparation for that offense, or in the course of attempting to avoid
       detection or responsibility for that offense;




   6 This guideline has been amended since Nania, upon which Boyle relies; it no longer

requires that the prior conviction increase the offense level for the instant offenses.
Schrode, 839 F.3d at 551.
   7 Other subsections apply when the defendant committed his federal offense while

serving the undischarged term, or when he faces an anticipated sentence in another
case, § 5G1.3(a), (c), but those provisions are not at issue here.

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      (2) solely with respect to offenses of a character for which §3D1.2(d)
      would require grouping of multiple counts, all acts and omissions . . .
      that were part of the same course of conduct or common scheme or
      plan as the offense of conviction; [and]

      (3) all harm that resulted from the acts and omissions specified in
      subsections (a)(1) and (a)(2) above, and all harm that was the object of
      such acts and omissions[.]

§ 1B1.3(a). Notably, the subsections subject to § 5G1.3(b) do not include

subsection (a)(4) (“any other information specified”), nor do they include

subsection (b), which governs the scope of relevant conduct in applying Chapters

Four and Five of the Guidelines.

   Boyle cannot show that his state conviction qualifies as relevant conduct to his

federal offenses under the three pertinent subsections:

   Subsection (a)(1). As relevant here, this subsection covers all acts committed

during or in preparation for the federal offenses of conviction. § 1B1.3(a)(1).

Boyle’s state conviction was for committing an act of sexual penetration against a

child under the age of thirteen, on or before February 3, 2019. PSR ¶ 120. That

was not an act committed during or in preparation for his federal offenses—

exploiting a child for the purpose of producing child pornography on a different

date (February 4, 2019), and possessing sexually explicit images and videos on

his phone.

   As for the production counts, Boyle’s sexual penetration of a child on one

prior occasion is not an act that occurred during his exploitation of that child on

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the later, distinct occasions that gave rise to the federal convictions. Nor did

Boyle commit the first instance of sexual abuse in preparation for the later

instances of abuse. 8 The state conviction is thus not relevant conduct to the

production offenses on this basis.

   Likewise, Boyle’s sexual penetration of a child was not an act committed

during or in preparation for his possession of child pornography, an entirely

separate form of misconduct. There is no suggestion, for example, that Boyle

photographed or recorded the instance of abuse that gave rise to his state

conviction, or that he possessed that image along with the images that gave rise

to his possession conviction. Rather, his state offense constituted a distinct act, so

it does not qualify as relevant conduct under this subsection.

   Subsection (a)(2). Next, subsection (a)(2) includes acts committed as part of the

“same course of conduct or common scheme or plan” as the offense of

conviction. § 1B1.3(a)(2). This subsection does not apply to all offenses, though. It

applies only to offenses “for which § 3D1.2(d) would require grouping of

multiple counts.” Id. Section 3D1.2(d), in turn, allows grouping for possession


   8 Perhaps, in some circumstances, engaging in sexual activity with a child on one

occasion could be an act of grooming for the creation of child pornography during a
later instance of abuse. Boyle does not make that argument, though, nor does the record
reflect that Boyle’s state conviction in fact occurred in preparation for his exploitation of
the child during his federal offenses. Boyle thus cannot show on plain error review
(under which he bears the burden of establishing an error) that the prior conviction
constitutes relevant conduct in that respect.

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offenses (indexed at § 2G2.2), but not production offenses (indexed at § 2G2.1).

§ 3D1.2(d); Schrode, 839 F.3d at 549 (“Production of child pornography is not a

groupable offense.”). Accordingly, this subsection does not apply to Boyle’s

production offenses (Counts 1 through 7).

   To qualify as relevant conduct under this subsection, then, Boyle’s state

conviction would have to be part of the “same course of conduct” or “common

scheme or plan” as his possession of child pornography, as charged in Count 8.

§ 1B1.3(a)(2). To be part of a “common scheme or plan,” offenses “must be

substantially connected to each other by at least one common factor, such as

common victims, common accomplices, common purpose, or similar modus

operandi.” Id. cmt. n.5(b)(i). Offenses that do not meet that definition can still

qualify as part of the “same course of conduct” if they are “sufficiently connected

or related to each other as to warrant the conclusion that they are part of a single

episode, spree, or ongoing series of offenses,” considering the “similarity of the

offenses, the regularity (repetitions) of the offenses, and the time interval

between the offenses.” Id. cmt. n.5(B)(ii).

   Boyle’s offenses do not fit those descriptions. Boyle’s state conviction was for

sexually penetrating a child on one occasion. The federal offense in question

entailed his possession (as much as three years later) of images and videos of

children engaged in sexually explicit conduct. Those offenses occurred at


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different times, and they involved different conduct that inflicted different harms

in different ways. The conduct underlying the state conviction was the act of

abuse itself; the conduct underlying the federal offense was Boyle’s possession of

images and videos. See PSR ¶¶ 16, 19, 120. In fact, possessing child pornography

is unlawful under federal law even when it does not depict child abuse or

independently unlawful conduct. See United States v. Fredrickson, 996 F.3d 821,

824–25 (7th Cir. 2021); United States v. Price, 775 F.3d 828, 838–39 (7th Cir. 2014).

   The respective offenses also “target different conduct to protect different

interests.” Nania, 724 F.3d at 841. Whereas the state offense addresses “the

abusive conduct itself,” the federal offense addresses “the memorialization” of

sexually explicit conduct in child pornography. Id. The creation of “a permanent

record” of that conduct “carries additional consequences” beyond the sexually

explicit conduct itself. Id. The victims suffer a “new injury” every time those

materials are viewed, and federal child pornography offenses thus “focus[] on

the enduring harm to the child victims” caused by the creation and possession of

those materials. United States v. Klug, 670 F.3d 797, 800 (7th Cir. 2012).

   The only overlap Boyle identifies is that                was the victim of his

state conviction, and her images were also among the images on his phone that

were relevant conduct to his conviction for possessing child pornography. See

PSR ¶ 96.                    was not the only victim of his federal offense,


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though—Boyle possessed at least 100 child-exploitation images of children other

than               . PSR ¶¶ 19, 99. The sets of victims are thus not the same. See

§ 1B1.3 cmt. n.5(B)(i) (noting that offenses could be connected through “common-

ality of victims” if “the same investors were defrauded on an ongoing basis”).

   The offenses were not otherwise connected. The state conviction did not

charge Boyle with recording the abuse, see PSR ¶ 120, nor is there any suggestion

that Boyle did so on that occasion, so that abuse was not part of the conduct that

produced the images relevant to Boyle’s possession of child pornography. In

addition, the state offense was charged to have occurred on or before February 3,

2019, id., which is the day before Boyle took the images of                  that were

relevant conduct to his possession conviction, id. ¶¶ 16, 96. 9 Boyle had abused

          for three years, id. ¶¶ 26, 97, so the conduct underlying his state

conviction could have occurred three years earlier. Since Boyle bears the burden

of establishing not just an error, but a “clear or obvious” one, Butler, 777 F.3d at

388, the possibility of such a large gap in time weighs heavily against him.

§ 1B1.3 cmt. n.5(B)(ii) (noting that gaps in time can weigh against finding

offenses to be part of the same course of conduct). See United States v. Williams,




   9 The Presentence Report does not indicate that any of the child exploitation

materials Boyle possessed depicted              , except for the images and videos he
took and distributed on February 4, 2019. See PSR ¶¶ 16, 19.

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931 F.3d 570, 573 (7th Cir. 2019) (holding that a defendant bears the risk of an

ambiguous record on plain error review). And again, the offenses involve

different conduct (sexually penetrating a minor, versus possessing images) that

inflicts different harm (the abuse itself, versus the permanent record of sexually

explicit conduct).

   Thus, at most, Boyle has shown that one of the victims of his later possession

of child pornography was also the victim of his prior sexual assault. Given the

different time periods, conduct, and harms, that falls short of showing that the

offenses are “substantially connected” to each other, as required to make them

part of a common scheme or plan. § 1B1.3 cmt. n.5(B)(i). Those same factors

preclude a finding that the offenses constitute part of the same course of conduct.

Id. cmt. n.5(B)(ii) (noting that “where the conduct alleged to be relevant is

relatively remote to the offense of conviction, a stronger showing of similarity or

regularity is necessary to compensate for the absence of temporal proximity”); see

also United States v. Clark, 935 F.3d 558, 571 (7th Cir. 2019) (holding that the court

did not plainly err in treating two sales of the same type of drug as separate

courses of conduct, as they involved different buyers and quantities and took

place in different cities seven months apart); Butler, 777 F.3d at 388–39 (holding

that the Guidelines require “a more searching inquiry” beyond whether the

offenses “happen only to be similar in kind”).


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   The standard of review matters, too. The question is not whether another

judge could find in similar circumstances that the offenses formed part of the

same course of conduct, or even whether the judge here erred in finding to the

contrary. Rather, the question is whether the offenses so clearly or obviously

qualify as relevant conduct on this basis that the district court was “‘derelict in

countenancing’ [a contrary finding], even absent the defendant’s timely

objection.” United States v. Chaparro, 956 F.3d 462, 484 (7th Cir. 2020) (quoting

United States v. Turner, 651 F.3d 743, 751 (7th Cir. 2011)); see also Clark, 935 F.3d at

571 (declining to find plain error despite some similarities in the two offenses).

Given the many distinctions between his abuse of a child and his later possession

of images depicting child pornography, Boyle cannot meet that standard here.

See Clark, 935 F.3d at 571.

   Subsection (a)(3). Subsection (a)(3) includes “all harm that resulted from the

acts” in the prior subsections. § 1B1.3(a)(3). Boyle’s state offense, which occurred

on or before February 3, 2019, was not harm that resulted from the later abuse he

committed on February 4, 2019, as charged in Counts 1 through 7. Nor was that

offense a harm that resulted from Boyle’s possession of other images of child

pornography, as charged in Count 8. This subsection thus does not apply, and

Boyle does not argue otherwise.




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   Subsections (a)(4) and (b). Finally, § 5G1.3(b) does not include subsections (a)(4)

or (b) of § 1B1.3, each of which refers to any “information specified in” the

applicable guideline. Conduct that only qualifies as relevant conduct under those

provisions thus does not warrant a concurrent sentence under § 5G1.3(b). It does

not matter, therefore, whether Boyle’s state conviction might qualify as relevant

conduct to the extent it supports the “pattern” enhancement under § 2G2.2(b)(5).

See § 2G2.2 cmt. n. 1 (noting that the pattern enhancement can apply regardless

of whether the other instances of abuse “occurred during the course of the

offense”). Likewise, it does not matter that the state conviction might support the

Chapter Four “pattern” enhancement under § 4B1.5(b). “Relevant conduct” for

purposes of Chapter Four is defined solely by subsection (b). § 1B1.3(b). Thus, a

Chapter Four enhancement could not warrant the application of § 5G1.3(b),

which refers only to portions of subsection (a). United States v. Hoffman, 847 F.3d

878, 882 (7th Cir. 2017) (holding likewise as to § 5G1.3(c), which also refers only

to same three subsections of § 1B1.3(a)).

   As a result, Boyle has not shown that his state conviction qualifies as relevant

conduct under any of the subsections referenced in § 5G1.3(b)—nor that it so

obviously qualifies under those subsections as to satisfy plain error review. And

because § 5G1.3(b) does not apply, the only applicable guideline is a policy

statement that leaves to a court’s discretion whether to run the sentences


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concurrently or consecutively. § 5G1.3(d). 10 The district court did not, therefore,

fail to consider any applicable guideline provision, so it did not commit any

procedural error at sentencing.

III. Boyle’s Sentence Is Substantively Reasonable And Well-Justified

   Boyle finally challenges his sentence’s substantive reasonableness, arguing

that his de facto life sentence is unreasonable and that the district court did not

adequately explain the need for that sentence. Def. Br. 18–20. The district court

reasonably concluded, though, that Boyle deserved to spend the rest of his life in

prison. Boyle inflicted unthinkable abuse on                         , and he also took

pleasure in depictions of other children’s abuse or sexually explicit conduct.

Boyle cannot overcome the presumption of reasonableness that applies to his

below-guideline sentence. Nor has he shown any inadequacy in the court’s

explanation. The court offered a detailed, overarching explanation for why Boyle

deserved to spend the rest of his life in prison, and it structured the sentence to

achieve that outcome. Though the result is harsh, the district court amply

explained why Boyle’s horrific conduct warranted it.




   10 The application notes to that guideline include some factors that a court may

consider. § 5G1.3 cmt. n.4. Those factors are not mandatory, though. Nania, 724 F.3d at
838. Regardless, the district court’s explanation substantially addressed those same
factors, Sent. Tr. 28–32, and Boyle does not argue otherwise on appeal.

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   A. Standard of Review

   This Court reviews a sentence’s substantive reasonableness for abuse of

discretion. United States v. Bour, 804 F.3d 880, 886 (7th Cir. 2015). In conducting

that review, this Court does “not substitute [its] judgment for that of a district

judge, who is better situated to make individualized sentencing decisions.”

United States v. Porraz, 943 F.3d 1099, 1104 (7th Cir. 2019). In addition, sentences

within or below the guideline range are presumed reasonable on appeal. Rita v.

United States, 551 U.S. 338, 347 (2007); United States v. Law, 990 F.3d 1058, 1066

(7th Cir. 2021). This Court will “uphold a sentence so long as the judge offers an

adequate statement of his reasons consistent with the sentencing factors

enumerated in 18 U.S.C. § 3553(a).” Porraz, 943 F.3d at 1104. “The rationale need

only be sufficient ‘for meaningful appellate review.’” United States v. Ramirez, 983

F.3d 959, 962 (7th Cir. 2020) (quoting United States v. Vasquez-Abarca, 946 F.3d 990,

993 (7th Cir. 2020)).

   B. The District Court Did Not Abuse its Discretion in Imposing a Below-
      Guideline Sentence

   The district court reasonably concluded that Boyle deserved to spend the rest

of his life in prison, and it adequately explained and implemented that sentence,

so it did not abuse its discretion.




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      1. Boyle’s sexual abuse of                  warranted a life sentence

   Boyle sexually abused                        , and he live-streamed that abuse on

the internet. PSR ¶¶ 16, 22–23. He also collected images of other children’s

exploitation, which he used for his own gratification. Id. ¶¶ 19, 24. That conduct

came on the heels of a years-long pattern of committing sexual acts against

               . Id. ¶¶ 26, 108. It is difficult to overstate the seriousness of that

conduct and the suffering it wrought on the victims, and this Court has often

affirmed de facto life sentences for defendants who engaged in such egregious

abuse of children. E.g., Nania, 724 F.3d at 842 (“[The defendant’s sentence is

indeed long, but long sentences are no stranger to federal courts of appeals in

child pornography cases. The senseless acts of these criminals damage children

for the rest of their lives.”) (internal citations omitted); United States v. Bour, 804

F.3d 880, 887 (7th Cir. 2015); United States v. Eckstrom, 626 F. App’x 640, 643 (7th

Cir. 2015); United States v. Bostic, 491 F. App’x 731, 732 (7th Cir. 2012) (dismissing

as frivolous an appeal of a de facto life sentence).

   In addition, a below-guideline sentence is presumed reasonable on appeal.

Law, 990 F.3d at 1066. A defendant bears the burden of overcoming that

presumption. Nania, 724 F.3d at 839. Boyle’s guideline sentence was 2,760

months—the sentencing table recommended a life sentence, but the statutory

maximums limited that term to 230 years, or 2,760 months. Boyle received a


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sentence of fifty years, or 600 months, which is far below that term. 11 Even if one

were to factor in the state sentence, which produced an aggregate term of ninety

years, that term would still fall well below the guideline sentence. This Court has

never found a below-guideline sentence to be substantively unreasonable, United

States v. Castro-Aguirre, 983 F.3d 927, 944 (7th Cir. 2020), and Boyle offers no basis

to overcome the presumption of reasonableness here.

       2. The district court sufficiently justified and implemented that sentence

   Instead, Boyle argues primarily that the district court failed to adequately

ground its decision in the § 3553(a) factors, particularly in deciding to impose

consecutive terms. 12 Def. Br. 18–20. This argument is mistaken. The district court

made abundantly clear that it intended to impose a life sentence, and it

supported that decision with a discussion of the § 3553(a) factors. It also

explained how running some—but not all—of the sentences consecutively

sufficed to achieve that result. No more was required.




   11 That a fifty-year sentence was still so far below the guideline sentence illustrates

the egregiousness of Boyle’s offense, which produced such a long guideline term to
begin with.
   12 This argument might be better characterized as a procedural challenge, see Gall v.

United States, 552 U.S. 38, 51 (2007) (describing “failing to consider the § 3553(a) factors”
and “failing to adequately explain the chosen sentence” as examples of procedural
errors), but this Court has also evaluated a sentence’s substantive reasonableness by
reference to the court’s reasons for imposing the sentence. E.g., Porraz, 943 F.3d at 1104.

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      Contrary to Boyle’s suggestion that the district court did not “appreciate[] the

severity of the sentence” (Def. Br. 20), the court not only acknowledged

(repeatedly) that it was imposing a de facto life sentence, it minced no words in

making clear that it intended that precise result: “Mr. Boyle, you sentenced

             to life, a life questioning herself, asking herself what she did wrong.

You deserve the same sentence so then you can consider what you did wrong.”

Sent. Tr. 30. Likewise, in response to defense counsel’s assertion that the “real

question” at sentencing was whether Boyle deserved a “couple of years

breathing free air” after completing his state sentence, id. at 24, the court stated:

“the answer in my mind is no. That would allow him to share the same air as

            , the one he sentenced to a lifetime of nightmares and self-doubt.” Id. at

28.

      The district court discussed at length why the § 3553(a) factors warranted that

outcome. Naturally, the nature and circumstances of the offense weighed heavily

in the court’s analysis, as did the need for the sentence to reflect the seriousness

of the offense, promote respect for the law, and provide just punishment.

§ 3553(a)(1), (a)(2)(A). The court noted that Boyle not only sexually abused

            , but that he also streamed that abuse for his “sick and perverted

friends” on the internet to see, and further sought out sexually explicit images of

other children. Sent. Tr. at 30–31 (noting also that “the images . . . that were


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perpetuated were not enough; he needed to stream his own sexual abuse

towards                 ”).

   The court had also listened to statements from the victim (as read by the

prosecutor) and the victim’s mother, each of whom described how their lives had

been upended by Boyle’s abuse. Id. at 6–13. The court discussed the profound

harm that Boyle inflicted on both of them—harm they would have to live with

for the rest of their lives. Id. at 28–30. It explained that the gravity and duration of

that harm warranted the same punishment for Boyle. Id. at 28 (explaining that

Boyle did not deserve freedom, as he sentenced                          “to a lifetime of

nightmares and self-doubt”), 30 (explaining that Boyle deserved the same life

sentence that he imposed on                   ).

   As to the need to protect the public from further crimes of the defendant,

§ 3553(a)(2)(C), the court noted that while it could not protect the victim from

everybody for the rest of her life, it “can protect [her] from Mr. Boyle.” Sent. Tr.

30–31. In fact, Boyle had “reported to the psychologist that he was happy to be in

custody so he couldn’t abuse                      again.” Id. at 29. The court also

considered Boyle’s history and characteristics. § 3553(a)(1). It noted that Boyle

was thirty-six years old with a history of depression and anxiety, and had been

employed since 2008. Sent. Tr. 29. It further acknowledged that Boyle had

suffered from both physical and sexual abuse himself. Id.


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   Considering those factors, the district court concluded that the appropriate

sentence was one that would keep Boyle in prison for the rest of his life. Sent. Tr.

28–32. It acknowledged, though, that it did not have to impose the statutory

maximum sentence—230 years—to accomplish that result. Id. at 28. Accordingly,

it decided to impose concurrent thirty-year sentences on Counts 1 through 7 (for

production), which involved similar conduct over the course of the same day,

but it ran those sentences consecutively to a twenty-year sentence on Count 8 (for

possession), which involved subjecting “other young people who have been

abused to the perverted and distorted and sick nature of those seeking the

internet for their satisfaction.” Id. at 31–32. That produced a total sentence of fifty

years. Id. at 32. Finally, the court decided to impose that term consecutively to

the forty-year state sentence, which involved “a separate course of conduct.” Id.

The court acknowledged that this produced an aggregate sentence of ninety

years, which, if served in full, Boyle would complete at the age of 126—thus

accomplishing the court’s intent to impose a de facto life sentence. Id.

   The district court’s discussion shows that it grounded its decision in the

§ 3553(a) factors, and more than suffices to permit “meaningful appellate

review,” which is all that is required. Ramirez, 983 F.3d at 962. Rather than

engaging with that analysis as a whole, Boyle focuses on the district court’s

observation that the state sentence reflected a “separate course of conduct” from


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the federal offenses. Def. Br. 19. Boyle disagrees with that characterization, so he

argues that the court’s decision to impose a consecutive sentence, producing a de

facto life sentence, was unreasonable. 13 Id.

   But that argument overlooks the rest of the court’s analysis. As just discussed,

the court explained why a life sentence was warranted, and how consecutive

terms accomplished that result. No further explanation was necessary. 14 See

United States v. Esposito, No. 20-1124, 2021 WL 2385407, at *3–4 (7th Cir. June 11,

2021) (holding that the district court did not err when it first decided that a de

facto life sentence was necessary, then imposed counts consecutively to the

extent required to achieve that result); United States v. Orozco-Sanchez, 814 F.3d

844, 849 (7th Cir. 2016) (holding that a court need not offer “a second full

explanation of the § 3553(a) factors” in imposing a consecutive sentence); Bour,


   13 Boyle also suggests (Def. Br. 11, 19) that a consecutive sentence was unwarranted

because the Guidelines already accounted for his state sentence. To the contrary, his
guideline sentence would have been the same even without the state conviction or its
underlying conduct—the production counts themselves (and the five-level increase they
triggered for the number of units) would have sufficed to produce a total offense level
over 43. See PSR ¶¶ 104–07. This argument also overlooks that, even with a consecutive
sentence, the aggregate still fell well below the guideline sentence of 230 years.
   14 Boyle’s passing suggestion (Def. Br. 11) that the court failed to adequately explain

its decision to impose the sentences on the production and possession counts
consecutively to each other fails for similar reasons. Boyle received a sentence well
below the guideline sentence, and the court explained why the total sentence was
reasonable. No more justification was required for imposing consecutive terms to
produce that total sentence. See Esposito, 2021 WL 2385407, at *3–4; Bour, 804 F.3d at 887.
Regardless, as the court noted, the offenses involved different victims and different
harms, and were charged as having occurred on different days. Sent. Tr. 31.

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804 F.3d at 887 (“In short, the judge believed it was necessary to ensure that [the

defendant] would never leave prison. Because this is a justified reason for

consecutive sentences, there was no abuse of discretion in substantive terms.”).

   In any event, the district court accurately described the state conviction as

reflecting a separate course of conduct from the federal offenses. Boyle’s federal

convictions arose from Boyle’s exploitation of           on a single day, as well as

his collection of materials depicting other children. PSR ¶¶ 16, 19. His state

conviction, meanwhile, arose from a previous instance of the abuse alone. Id.

¶ 120. Not only are the time periods distinct, but the conduct the state conviction

addressed was the underlying abuse, while the conduct the federal conviction

addressed was the recording and distribution of sexually explicit conduct.

   That distinct conduct, causing distinct harm, warrants distinct punishments.

As this Court explained in Nania, “the federal and state offenses target different

conduct to protect different interests. The state offenses punished the abusive

conduct itself, while the federal offense punished the memorialization of that

abuse in pornography.” 724 F.3d at 841. That is equally true for Boyle’s offenses.

The district court therefore reasonably characterized Boyle’s state conviction as

involving a separate course of conduct from his federal convictions. And because

that was only one part of the court’s overarching explanation for why Boyle

deserved a life sentence, the district court adequately explained its decision to


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impose consecutive sentences. This Court should therefore affirm Boyle’s well-

deserved sentence.




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                             CONCLUSION

This Court should affirm the district court’s judgment.

                                      Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

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App. P. 32(a)(5)(A) and (a)(6), as modified by Cir. R. 32(b), because I have

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App. P. 32(a)(7)(B), as modified by Cir. R. 32(c), in that it contains 12,264 words.


                                          /s/ JEFFREY D. KIENSTRA
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                           CERTIFICATE OF SERVICE

   I certify that on June 24, 2021, I electronically filed the foregoing with the

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by using the CM/ECF system. I further certify that all participants in this case

are registered CM/ECF users and that service will be accomplished by the

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                                           /s/ JEFFREY D. KIENSTRA
                                          Assistant United States Attorney




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